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 14
                               UNITED STATES BANKRUPTCY COURT
 15
                               NORTHERN DISTRICT OF CALIFORNIA
 16
                                          SAN JOSE DIVISION
 17

 18                                          )   Case No. 19-51455 (MEH)
      In re:                                 )
 19                                          )   Chapter 11
      HOME LOAN CENTER, INC.,                )
 20                                          )   CREDITORS’ JOINT LIMITED
      Debtor.                                )   OPPOSITION TO EMPLOYMENT
 21                                          )   APPLICATION FOR PSZJ, AND “JAY
                                             )   ALIX PROTOCOL” MOTION FOR ARCH
 22                                          )   + BEAM
                                             )
 23                                          )   Date: September 24, 2019
                                             )   Time: 10:00 a.m.
 24                                          )   Place: Courtroom 11
                                             )          280 South First Street
 25                                          )          San Jose, CA 95113
                                             )   Judge: Hon. M. Elaine Hammond
 26
 27

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                                CREDITORS’ JOINT LIMITED OPPOSITION RE PSZJ AND ARCH + BEAM
  1          ResCap Liquidating Trust (“ResCap”) and Lehman Brothers Holdings, Inc. (“LBHI,” and

  2 with ResCap, the “Creditors”) jointly file this limited opposition to the (1) Motion For Entry Of

  3 Order Pursuant To Bankruptcy Code Sections 363 And 105 Approving The Engagement Contract

  4 Between Arch & Beam Global, LLC [“Arch + Beam”], And The Debtor [Doc. No. 37]; and

  5 (2) Debtor’s Application To Employ Pachulski Stang Ziehl & Jones LLP [“PSZJ”] As General

  6 Bankruptcy Counsel For The Debtor [Doc. No. 43] (collectively, the “Employment Requests”) filed

  7 by debtor Home Loan Center, Inc. (“HLC”).1

  8          HLC’s voluntary conversion of this case to chapter 7 [Doc. Nos. 77 & 83] moots a number

  9 of the objections that the Creditors would have had to the Employment Requests. Conversion,

 10 however, does not change the facts that (1) Arch + Beam and PSZJ together are holding more than

 11 $900,000 in retainers, (2) Williams & Connolly (whose application has been withdrawn) is holding

 12 more than $455,000 in retainer, and (3) other professionals who have never filed employment

 13 applications are holding an additional nearly $380,000 in retainers.2 The more than $1.7 million in

 14 retainers belongs to the estate and should be returned to the chapter 7 trustee without delay.

 15          In addition, conversion makes Arch + Beam’s retention under the so-called “Jay Alix

 16 Protocol” even more problematic, given that (1) HLC lacks standing and authority to pursue

 17 approval of Arch + Beam’s contract under Bankruptcy Code section 363, because only the trustee

 18 has authority to do so, (2) neither the firm nor Mr. English will be serving as a “Chief Restructuring
 19 Officer,” (3) Arch + Beam’s fees should be subject to the same requirements for allowance as other

 20 professionals under Bankruptcy Code section 330, with a full opportunity for creditors to object

 21

 22

 23

 24
         1
            The Creditors understand that the Debtor’s Application To Employ Williams & Connolly,
    LLP As Special Litigation Counsel, Effective As Of The Petition Date, Pursuant To Section 327(e)
 25 Of The Bankruptcy Code [Doc. No. 33] has been withdrawn, and on that basis are not filing an
    objection to it.
 26     2
            These professionals and their retainers include the law firms of Katten Muchin Rosenman
 27 LLP ($131,701.67) and Cooley LLP ($7,325.00), FTI Consulting ($150,304.30), BPM Accounting
    & Consulting ($14,386.00), and independent director Kyle Everett/Development Specialists Inc.
 28 ($75,000.00 in “prepaid director fees”).
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  1 following a properly filed fee application, and (4) there is no justification for the estate to be

  2 providing indemnifications and releases to Mr. English or Arch + Beam.3

  3          The Retainers

  4          PSZJ is holding a $525,000 retainer, while Arch + Beam is holding an approximately

  5 $382,000 retainer. These amounts obviously were based upon HLC remaining in chapter 11, which

  6 is not the case. While the firms may be entitled to reasonable retainers to cover their approximately

  7 one-month of services to the estate (to the extent their fees are allowed by this Court), they should

  8 return all remaining amounts to the estate without delay, as should all other professionals who are

  9 holding retainers (i.e., the professional firms that have not filed employment applications).

 10          Administrative expenses in the converted chapter 7 case have priority over pre-conversion

 11 administrative expenses. 11 U.S.C. § 726(b). Accordingly, the estate’s remaining cash should be

 12 available to pay chapter 7 administrative expenses, rather than held in retainers for pre-conversion

 13 professionals.

 14          Cash is a concern in this case, because HLC has no operating business or other regular source

 15 of income. Although HLC had approximately $5.4 million in cash as of the petition date, that is

 16 only about half of what it had ninety days before the petition date – the Schedules show that

 17 approximately $5 million was spent on professionals’ fees and retainers in just three months. Doc.

 18 No. 80 at 58-68 (SOFA Rider 3). HLC also internally projected that the chapter 11 case would burn
 19 through another $2 million in cash by December, and it is unknown how much the chapter 11

 20 professionals already spent opposing the conversion motion before HLC agreed to convert the case.

 21 Thus, it is imperative that cash retainers be returned to the estate, so that cash may be used to fund

 22 the administration of the chapter 7 case in accordance with the priorities set forth in the Bankruptcy

 23 Code. Allowing the chapter 11 professionals to keep retainers would conflict with the Bankruptcy

 24 Code’s priority scheme and impair the trustee’s work in administering the chapter 7 case.

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         3
            The Creditors reserve all rights as to (1) whether PSZJ’s and Arch + Beam’s fees should be
 26
    allowed, and in what amount, and (2) whether the estate may have claims for disgorgement for
 27 prepetition fees they received under Bankruptcy Code section 329(b) or otherwise, or any other
    claims. The Creditors understand that the Employment Requests do not preclude their or a trustee’s
 28 inquiry into these issues, and any appropriate action based upon the results of that inquiry.
                                                      -2-
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                                      CREDITORS’ JOINT LIMITED OPPOSITION RE PSZJ AND ARCH + BEAM
  1          Arch + Beam

  2          The Creditors already have noted their serious concerns about Arch + Beam’s connections

  3 with insiders in this case. Nevertheless, the Creditors would not oppose Arch + Beam’s retention

  4 pursuant to Bankruptcy Code 327 for the approximately one-month it worked prior to conversion.

  5 The Creditors, however, do oppose Arch + Beam’s request to be employed pursuant to Bankruptcy

  6 Code section 363 and the “Jay Alix Protocol,” including Arch + Beam’s proposed

  7 (i) indemnification and release by the estate and (ii) exemption from filing fee applications.

  8          According to the Arch + Beam Employment Request, “the CRO and Arch + Beam are not

  9 being employed as professionals under section 327 of the Bankruptcy Code, they will not be

 10 submitting regular fee applications pursuant to sections 330 and 331 of the Bankruptcy Code.” Arch

 11 + Beam Employment Request at 8. Rather, while it was still a debtor in possession, HLC filed a

 12 “motion” to employ Arch + Beam under Bankruptcy Code section 363. At best, Arch + Beam will

 13 only be partially complying with section 327, and its fees will be subject to review by only certain

 14 parties, without the requirement that Arch + Beam file a fee application giving all creditors notice

 15 and an opportunity to object.

 16          Arch + Beam’s “Jay Alix” Employment Request should be denied.

 17          First, neither Arch + Beam nor HLC have standing to obtain relief under Bankruptcy

 18 Code section 363. Section 363(b)(1) provides that “[t]he trustee, after notice and a hearing, may
 19 use, sell, or lease, other than in the ordinary course of business, property of the estate ….” Neither

 20 Arch + Bean nor HLC is a “trustee,” and HLC forfeited all powers of a debtor in possession when

 21 it converted the case to chapter 7. See 11 U.S.C. § 1107(a) (debtor in possession has powers of a

 22 trustee); Hartford Underwriters Ins. Co. v. Union Planters Bank, N.A., 530 U.S. 1, 6-9 (2000)

 23 (holding that only a trustee may surcharge collateral under Bankruptcy Code section 506(c)); In re

 24 Mejia, 576 B.R. 464, 468 (Bankr. S.D.N.Y. 2017) (holding that only a trustee may sell property of

 25 the estate, citing numerous authorities).4 HLC’s motion based on Bankruptcy Code section 363

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 27
         4
           HLC filed its motion under section 363 (and 105). HLC does not seek to “assume” Arch +
    Beam’s prepetition contract, and thus treat prepetition claims (including for indemnity) as
 28 administrative (which the Creditors would have opposed). Regardless, as with section 363, only a
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  1 must be denied because out-of-possession HLC lacks authority and standing to prosecute the

  2 motion.

  3          Second, if Arch + Beam is to be employed in this case, it should only be under Bankruptcy

  4 Code section 327, and it should only be compensated under section 330. Arch + Beam is a

  5 “professional” firm, and its employees are “professional persons.” The first paragraph on Arch +

  6 Beam’s own website reads:

  7          Arch + Beam is a consulting and advisory firm focused on helping companies
             navigate challenging business situations. Our professionals have many years of
  8          experience working with management teams, boards and stakeholders to identify
             the best path forward.[5]
  9

 10          Mr. English is a Certified Insolvency and Restructuring Advisor (“CIRA”), Six Sigma Black
 11 Belt, certified Project Management Professional (“PMP”), and Certified Turnaround Professional

 12 (“CTP”). The other members of Arch + Beam sought to be employed by HLC are also professionals:

 13 Mr. Bailey is a Certified Turnaround Professional, and Mr. Geary has an M.B.A. in Finance. Arch

 14 + Beam’s “Jay Alix” motion refers numerous times to the firm’s “professionals” and their

 15 professional qualifications.

 16          Arch + Beam’s proposed services were to have been professional in nature. “Mr. English
 17 and Arch + Beam will communicate and negotiate with the Debtor’s stakeholders, and provide plan

 18 and liquidation analysis for the purpose of restructuring the estate ….” Arch + Beam Employment
 19 Request at 3. The services also included assisting with “critical analysis and decision making,”

 20 “consulting,” and financial modeling. Id. at 5-6.

 21          Arch + Beam and its professionals thus are “professional persons” under Bankruptcy Code
 22 section 327.     The Bankruptcy Code’s plain language requires that they be employed and
 23

 24

 25 trustee or debtor in possession may assume a contract under section 365 (with limited exceptions
    not applicable here, e.g. 11 U.S.C. § 365(p)(2)). HLC is neither a trustee nor DIP following
 26 conversion. Nor may HLC invoke section 105 as authority to avoid the clear reference to “trustee”
    in sections 363 and 365. See Law v. Siegel, 571 U.S. 415, 420-23 (2014) (holding that section 105
 27 cannot be used to “contravene specific statutory provisions”).

 28      5
             See https://arch-beam.com/ (emphasis added).
                                                    -4-
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  1 compensated under Bankruptcy Code sections 327 through 331, and that they comply with all rules

  2 and U.S. Trustee Guidelines.

  3          That Mr. English had been designated “Chief Restructuring Officer” does not relieve Arch

  4 + Beam of these requirements. Mr. English cannot be the CRO, because the case has been converted

  5 to chapter 7. Indeed, there never was a “restructuring” in this case. Even before conversion, HLC

  6 admitted that this is a liquidating estate with no operating assets. Its only material assets are cash

  7 and claims against LendingTree and other insiders.

  8          Moreover, even if Mr. English had been an “officer” of the debtor, his firm and its other

  9 professionals were not. They were still third-party professionals who were employed by HLC to

 10 perform professional services for a bankruptcy estate. Arch + Beam was proposing a professional

 11 team to work on this case; besides Mr. English as CRO, there would have been Senior Managing

 12 Directors, Managing Directors, Directors, Associates, and “Staff and Admin,” all of whom would

 13 have charged the estate at hourly rates. Except for “Staff and Admin” (which appear to be non-

 14 billable overhead), these are hourly professional services. Arch + Beam Employment Request at 7.

 15 Thus, Arch + Beam must comply with the Bankruptcy Code’s requirements for the retention and

 16 compensation of professionals.

 17          The Creditors recognize that some courts have permitted “Jay Alix Protocol” retentions. See

 18 Nine West Holdings, Inc., 588 B.R. 678, 692-95 (Bankr. S.D.N.Y. 2018) (advisor hired under section
 19 363 “to oversee day-to-day operations” in a “large chapter 11 case”). Maybe in some large cases

 20 with significant assets and operations, such a retention may make sense, particularly if supported by

 21 the vast majority of the creditors. Id. at 682-83 (noting widespread support for the debtor’s motion

 22 by both secured and unsecured creditors). But here, the case has been converted. There is no

 23 reorganization, no operations, and no material assets other than cash and claims against insiders.

 24 Moreover, the estate’s principal creditors oppose Arch + Beam’s retention on these terms. Whatever

 25 justification may exist for the “Jay Alix Protocol” in some cases simply does not apply here.

 26          Third, Arch + Beam and Mr. English should not be indemnified by the estate with
 27 administrative expense priority; nor should their liability for negligence be released.

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  1          HLC proposes that Arch + Beam be indemnified even for its own negligence. Arch + Beam

  2 Employment Request at 10. Mr. English will himself be indemnified to the full extent of the

  3 indemnity HLC provides to its officers and directors—a standard HLC does not disclose, but which

  4 may even be broader (e.g., gross negligence or recklessness). Id.

  5          Moreover, Arch + Beam’s retention agreement provides that Arch + Beam shall have no

  6 liability to the estate for its own negligence, except to the extent it has actually been paid “for the

  7 particular service provided giving rise to the claim.” Arch + Beam Employment Request at Ex. C,

  8 § 9 (emphasis added). Thus, Arch + Beam will be receiving a release for its own professional

  9 negligence.

 10          Although there is no per se rule against professionals being indemnified for their negligence,

 11 In re Metricom, Inc., 275 B.R. 364 (Bankr. N.D. Cal. 2002), “decisions in the Ninth Circuit appear

 12 not to favor exculpation or indemnification provisions that limit liability for negligence or breaches

 13 of fiduciary duties,” In re WCI Cable, Inc., 282 B.R. 457, 479 (Bankr. D. Or. 2002) (disapproving

 14 exculpation for professional negligence); see also In re Cochise College Park, Inc., 703 F.2d 1339,

 15 1357 (9th Cir. 1983) (holding that a trustee “is subject to personal liability for not only intentional

 16 but also negligent violations of duties imposed upon him by law”).6 Moreover, HLC has the burden

 17 to prove why such release and indemnification is justified in this case – saying that it may be

 18 “customary” or “OK in some other cases” is not enough. Metricom, 275 B.R. at 371-73; see also
 19 In re Mortgage & Realty Trust, 123 B.R. 626 (Bankr. C.D. Cal. 1991) (disallowing indemnification).

 20          HLC does not need the services of Arch + Beam, given that it is no longer a debtor in

 21 possession. The trustee will hire his or her own professionals. Thus, even if Arch + Beam were to

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             Although some courts within the Ninth Circuit have confirmed plans that exculpate
 24 professional negligence, see In re Fraser’s Broiler Service, Inc., 593 B.R. 636, 641 (Bankr. W.D.
    Wash. 2018), there is a significant difference between a confirmed plan at the end of a successful
 25 chapter 11 case, and a professional’s employment application at the beginning of what is now a

 26 chapter 7 liquidation. A plan is intended to provide finality for the estate, and can only be confirmed
    after significant attention has been given to the estate’s administration and the professional services
 27 in connection therewith. By contrast, an employment application is typically filed at the beginning
    of the case, before the professional’s services have been performed. See id. at 642 (denying
 28 exculpation for work that would be done prospectively post-confirmation).
                                                      -6-
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  1 refuse to provide services without an indemnification or exculpation, that is a moot issue. Nor is

  2 there any justification for permitting Arch + Beam to assert administrative claims for expenses that

  3 are incidental to the services it actually provided to the estate during the approximately one month

  4 that HLC was a debtor in possession, including claims for its own attorneys’ fees. See Baker Botts

  5 L.L.P. v. ASARCO LLC, 135 S.Ct. 2158, 2165-66 (2015) (holding that section 330 only permits a

  6 professional to receive “reasonable compensation for actual, necessary services rendered, which

  7 does not include the professional’s own fees incurred in litigating fee objections).

  8          Finally, even if Arch + Beam were entitled to be released and indemnified for claims arising

  9 during the one-month that it worked during this case, under no circumstances should it be released

 10 or indemnified as an administrative expense for claims relating to its prepetition services. Because

 11 HLC has not moved to “assume” Arch + Beam’s agreement under Bankruptcy Code section 365,

 12 none of Arch + Beam’s prepetition rights and obligations should be affected. However, to the extent

 13 the Employment Request seeks to indemnify and/or release Arch + Beam for prepetition services,

 14 it should be denied.

 15          Arch + Beam advised HLC for nearly two years prior to the petition date, during most of

 16 which time HLC was controlled by LendingTree and its insiders. The trustee undoubtedly will be

 17 examining those services and the hundreds of thousands of dollars paid for them. While the trustee

 18 may find no cause of concern, it is simply premature for the estate to grant Arch + Beam a release
 19 from its own negligence, and to indemnify it for the same. Moreover, Arch + Beam’s prepetition

 20 rights to indemnity (if any) are, at best, general unsecured claims, and they should not be elevated

 21 to administrative expense status.

 22                                            CONCLUSION

 23          For the foregoing reasons, the Creditors do not oppose the retention of PSZJ and Arch +

 24 Beam under Bankruptcy Code section 327, but they request that any unused retainers be returned to

 25 the estate without delay, and that the Court deny Arch + Beam’s requests to be released and

 26 indemnified, and to avoid the requirements of Bankruptcy Code sections 327 through 331.
 27 Dated: September 6, 2019

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